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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
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   In re:                                                            :   Chapter 11
                                                                     :
   NAVILLUS TILE, INC., DBA NAVILLUS                                 :   Case No. 17-13162 (SHL)
   CONTRACTING,                                                      :
                                                                     :
                                                Debtor.              :
   ------------------------------------------------------------------x
                NOTICE OF WITHDRAWAL OF PROOF OF CLAIM NO. 56

           On February 10, 2018, based on an audit of the books and records of Navillus

   Tile, Inc. d/b/a Navillus Contracting (the “Debtor”) for January 1, 2014 through May 12,

   2017 (the “Audit Period”), the Local 7 Terrazzo Benefit Funds (the “Terrazzo Funds”)

   filed Proof of Claim No. 56 in the amount of $35,108.26. Subsequently, based on

   additional information, a revised audit found no notable deficiency in the Debtor’s

   contributions to the Terrazzo Funds for the Audit Period.

           Accordingly, the Terrazzo Funds hereby withdraw Proof of Claim No. 56.

   Dated: New York, New York                   Respectfully submitted,
          August 15, 2018
                                               VIRGINIA & AMBINDER, LLP


                                      By:      __/s/ Marc A. Tenenbaum____________
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